                             NUMBER 13-16-00329-CV

                             COURT OF APPEALS

                   THIRTEENTH DISTRICT OF TEXAS

                     CORPUS CHRISTI - EDINBURG


       IN THE INTEREST OF A.B., M.B., L.B., AND A.B., CHILDREN


                   On appeal from the 36th District Court
                         of Aransas County, Texas.


                          MEMORANDUM OPINION
    Before Chief Justice Valdez and Justices Garza and Longoria
                      Memorandum Opinion Per Curiam

      This appeal arises from an adoption proceeding. Appellant M.B. is the biological

mother of A.B., M.B., L.B., and A.B, and her parental rights were terminated on April 28,

2016. On June 16, 2016, the trial court entered an order granting petitioners R.G. and

M.I.G., adoption of the children. Appellant filed filed her pro se notice of appeal on June

17, 2016. We dismiss the appeal for want of jurisdiction.
       Appellant did not file a petition for adoption and was not an intervenor in the

underlying adoption proceeding.      Moreover, Texas Family Code Ann. § 102.006(a)

provides that a former parent whose parent/child relationship with the child has been

terminated by court order does not have standing to file a suit unless one of the two

exceptions contained in Section 102.006(b) applies. The exceptions are: has a continuing

right to possession of or access to the child under an existing court order; or has the

consent of the child’s managing conservator, guardian, or legal custodian to bring the suit.

See TEX. FAM. CODE ANN. §102.006 (West, Westlaw through 2015 R.S.).

       Appellant seeks to appeal from a judgment in which she was not a party or an

intervenor. Accordingly, the appeal is DISMISSED FOR WANT OF JURISDICTION. See

id. 42.3(a). All pending motions are likewise DISMISSED.


                                                                      PER CURIAM


Delivered and filed the
2nd day of September, 2016.




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